4:08-cr-03078-WKU-DLP              Doc # 129   Filed: 10/06/09     Page 1 of 1 - Page ID # 626




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                       )
                                                )
                      Plaintiff,                )                    4:08CR3078
                                                )
              v.                                )
                                                )
PEEAIR SHAUN WARD,                              )    ORDER OR RESCHEDULING RULE 35(b)
                                                )                HEARING
                      Defendants.               )
                                                )


       Due to a conflict in defense counsel’s schedule,

       IT IS ORDERED that the Rule 35(b) hearing is rescheduled and shall commence at 2:00
p.m. on November 10, 2009, in Courtroom No. 4, U.S. Courthouse, 100 Centennial Mall North,
Lincoln, Nebraska. The defendant shall be present for the hearing.

       Dated October 6, 2009.

                                       BY THE COURT

                                       s/ Warren K. Urbom
                                       United States Senior District Judge
